Case 2:15-cr-20652-GCS-DRG ECF No. 143, PageID.391 Filed 03/16/16 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                     Plaintiff,
                                                        Case Nos.     15-20652-3
                                                                      15-20751
vs.
                                                        HON. GEORGE CARAM STEEH
EUGENE FISCHER,

                Defendant.
____________________________/

       ORDER FINDING CONFLICT OF INTEREST FOR ATTORNEY PERKINS

       This matter came before the court on defendant Eugene Fischer’s attorney Todd

Perkins’ motion in regard to a potential conflict of interest. Having heard from Mr.

Perkins, Mr. Fischer, and the assistant United States Attorney Mr. Graveline, the court

hereby finds that Mr. Perkins has a conflict of interest and cannot provide adequate

legal representation to Mr. Fischer. Mr. Perkins is therefore permitted to withdraw as

counsel.

       The court will ask the Federal Defender’s Office to appoint a panel attorney to

represent Mr. Fischer.

       Mr. Fischer’s arraignment is adjourned until March 23, 2016 at 2:00 p.m. before

this court.

       IT IS SO ORDERED.

Dated: March 16, 2016
                                          s/George Caram Steeh
                                          GEORGE CARAM STEEH
                                          UNITED STATES DISTRICT JUDGE
Case 2:15-cr-20652-GCS-DRG ECF No. 143, PageID.392 Filed 03/16/16 Page 2 of 2




                               CERTIFICATE OF SERVICE

                Copies of this Order were served upon attorneys of record on
                    March 16, 2016, by electronic and/or ordinary mail.

                                   s/Marcia Beauchemin
                                       Deputy Clerk
